                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


ROBERT ANDERSON,                         )
                                         )
             Plaintiff,                  )
                                         )
vs.                                      )
                                         )
MUNICIPALITY OF ANCHORAGE,               )
                                         )
             Defendant.                  )   Case No. 3:21-cv-00139 JMK
                                         )


                     ORDER GRANTING JUDICIAL NOTICE

      Upon consideration of Defendant’s request for this Court to take Judicial Notice,

IT IS ORDERED that the Court shall take Judicial Notice of the Order Granting

Summary Judgment from Anderson v. State of Alaska, Case No. 3AN-00-11687CI

(Docket 81-1).

      DATED this __ day of February 2024 at Anchorage, Alaska.



                                                      ______________________
                                                      Joshua M. Kindred
                                                      United States District Judge




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